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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
SYREETA LASHAWN MCNEAL,                           )
                                                  )
       Plaintiff,                                 )
v.                                                )   Case No. 4:23-cv-01732-SEP
                                                  )
VERA L. CALVIN, ET AL.,                           )
                                                  )
       Defendants.                                )
                               MEMORDANDUM AND ORDER
       On May 2, 2025, the Court dismissed Plaintiff’s claims against Ms. Calvin as well as Ms.
Calvin’s counterclaim against Plaintiff. See Doc. [140]. Since that time, Ms. Calvin has filed
numerous letters, notices, and motions seeking affirmative relief from this Court. Ms. Calvin has
cited no basis in the Federal Rules of Civil Procedure for her involvement in this lawsuit as a
non-party. See, e.g., Fed. R. Civ. P. 24(b) (allowing permissive intervention under certain
circumstances). Therefore, other than her requests for sanctions, Ms. Calvin’s filings are not
properly part of this lawsuit. Moreover, as Ms. Calvin appears to acknowledge in one of her
filings, Doc. [164], her requests for sanctions are procedurally deficient. See Fed. R. Civ. P.
11(c)(2) (“A motion for sanctions must be . . . served under Rule 5, but it must not be filed or be
presented to the court if the challenged paper, claim, defense, contention, or denial is withdrawn
or appropriately corrected within 21 days after service or within another time the court sets.”
(emphasis added)). As such, all pending motions, letters, and notices filed by Ms. Calvin since
her dismissal on May 2, 2025, are denied.
       Ms. Calvin is admonished to desist filing notices, letters, motions, or other documents in
this matter absent a cognizable legal basis. Going forward, any baseless filing from Ms. Calvin
will be immediately stricken from the record without further notice. If Ms. Calvin ignores this
Court’s admonition, the Court will consider imposing more severe sanctions, including monetary
sanctions for wasted judicial resources. See Fed. R. Civ. P. 11.
       Accordingly,
       IT IS HEREBY ORDERED that the following motions are DENIED: Docs. [142],
[147], [167], [168], [177], [188].
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       IT IS FURTHER ORDERED that Ms. Calvin’s filing titled, “Judicial Notice of
Cross-Jurisdictional Litigation Abuse, Ghostwriting, and Misuse of Legal Credentials in Related
Alabama Case,” Doc. [161], which the Court construes as a motion, is DENIED.
       IT IS FURTHER ORDERED that Ms. Calvin’s filing titled, “Former Defendant Vera
L. Calvin’s Judicial Notice of Fraudulent Duplicative Filings and Continued Misrepresentations
by Plaintiff,” Doc. [175], which the Court construes as a motion, is DENIED.
       IT IS FURTHER ORDERED that Ms. Calvin’s filing titled, “Supplemental Notice of
Continued Procedural Misconduct,” Doc. [187], which the Court construes as a motion, is
DENIED.
       IT IS FINALLY ORDERED that Ms. Calvin’s filing titled, “Judicial Notice Regarding
Misrepresentation of Legal Status and Abuse of Pro Se Privilege,” Doc. [190], which the Court
construes as a motion, is DENIED.
       Dated this 29th day of May, 2025.



                                                SARAH E. PITLYK
                                                UNITED STATES DISTRICT JUDGE




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